     Case 2:20-cv-02248-JCM-NJK Document 24
                                         26 Filed 01/11/21
                                                  01/12/21 Page 1 of 2


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 9
                                 UNITED STATES DISTRICT COURT
10
                                   FOR THE DISTRICT OF NEVADA
11
     EB HOLDINGS II, INC. and QXH II, INC.,              Case No.: 2:20-cv-02248-JCM-NJK
12
                            Plaintiffs,
13                                                       STIPULATION AND ORDER TO
     v.                                                  EXTEND TIME TO RESPOND TO
14                                                       COMPLAINT
15   ILLINOIS NATIONAL INSURANCE
     COMPANY, CONTINENTAL                                [First Request]
16   CASUALTY COMPANY, FEDERAL
     INSURANCE COMPANY,
17
                            Defendants.
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            IT IS STIPULATED by and between Plaintiffs and defendant Continental Casualty
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     Company (“Continental”), through their respective counsel, and pursuant to LR IA 6-1 and LR 7-
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     1, that the time for Continental to respond to Plaintiffs’ Complaint (ECF No. 1) may be extended
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     by four days, or to January 15, 2021. The parties respectfully submit that good cause exists for
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     this stipulation based on the following:
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            1.    Plaintiffs filed their Complaint on December 11, 2020. (ECF No. 1).
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            2.    Continental was served on December 21, 2020. (ECF No. 10). Accordingly,
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     Continental’s response date is January 11, 2021.
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            3.    Due to the intervening December and January holidays between the service and
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     response dates, as well as defense counsel’s schedule obligations, Plaintiffs have agreed to provide
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     Case 2:20-cv-02248-JCM-NJK Document 24
                                         26 Filed 01/11/21
                                                  01/12/21 Page 2 of 2


 1   Continental with a four day courtesy extension to January 15, 2021.

 2          RESPECTFULLY SUBMITTED this 11th day of January 2020.

 3   DATED this 11th day of January, 2021.              DATED this 11th day of January, 2021.

 4   GARMAN TURNER GORDON LLP                           WILSON ELSER MOSKOWITZ
                                                        EDELMAN & DICKER LLP
 5
     /s/ Talitha Gray Kozlowski______________           By: /s/ Chad C. Butterfield____________
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11   DATED this 11th day of January, 2021.
12   GHANDI DEETER BLACKHAM
13   /s/ Paul Fuener______________________
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20   Attorneys for QXH II, INC.
21

22
                                                ORDER
23
            IT IS SO ORDERED.
24
                                                 _____________________________________
25                                               UNITED STATES MAGISTRATE JUDGE
26                                                      January 12, 2021
                                                 Dated: ______________________
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